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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                             OWENSBORO DIVISION

 CIVIL ACTION NO. 4:14-CV-00046-JHM

 KEVIN LEE PERRY, Individually, and
 as Administrator of the Estate of
 MADONNA G. PERRY, Deceased,
 N.P., minor, by his father and next friend
 Kevin Perry, and ANDREA SMITH BUTLER                                          PLAINTIFFS

 V.

 OWENSBORO HEALTH, INC.,
 formerly known as OWENSBORO
 MEDICAL HEALTH SYSTEM, INC.                                                  DEFENDANT

                                         JUDGMENT

        This matter having come before the Court on a dispositive motion filed by Defendant,

 and the Court on this date having issued a Memorandum Opinion and Order granting said

 motion,

        IT IS HEREBY ORDERED that judgment be entered in favor of Defendant consistent

 with the Court’s Memorandum Opinion and Order and Plaintiffs’ EMTALA claims be dismissed

 with prejudice.

        IT IS FURTHER ORDERED that Plaintiffs’ state-law claims be dismissed without

 prejudice.




                                                                          July 16, 2015




 cc: counsel of record
